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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN


ALEJANDRINA ISABEL SALEMME-ORTIZ
and PEDRO ORTIZ,

                    Plaintiffs,
                                                     Case No.: 19-cv-507
      v.

JANESVILLE JANITOR SERVICE
& INDUSTRIAL SUPPLY, INC.
D/B/A DIVERSIFIED BUILDING MAINTENANCE,

                    Defendant.


                          STIPULATION FOR DISMISSAL


      It is hereby stipulated between the Plaintiffs, Alejandrina Isabel Salemme-

Ortiz and Pedro Ortiz, by their attorneys, Hawks Quindel, S.C., and Defendant,

Janesville Janitor Service & Industrial Supply, Inc. d/b/a Diversified Building

Maintenance, by its attorneys, Boardman & Clark LLP, that, pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii), the above-captioned lawsuit shall be dismissed in its entirety with

prejudice, each party to bear its own costs and attorneys’ fees.
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Dated this 20th day of December, 2019.

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